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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

Case No.        CV 16-00473 BRO (JPRx)                                   Date      May 11, 2016
Title           Angela Mejia v. Southwest Law Offices
                                                                                                                     
Present: The Honorable         BEVERLY REID O’CONNELL, United States District Judge
        Renee A. Fisher                       Not Present                               N/A
         Deputy Clerk                        Court Reporter                           Tape No.
         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                   Not Present                                          Not Present

Proceedings:            (IN CHAMBERS)

                        ORDER RE DISMISSAL

          A Notice of Settlement in this case was filed on February 9, 2016. (Dkt. No. 12)

       On February 9, 2016, the Court issued an Order directing the parties to file a
Stipulation and Proposed Order Dismissing the action on or before March 9, 2016 (Dkt.
No. 13) or, in the alternative a Joint Status Report. On March 8, 2016 and April 8, 2016,
the parties filed Joint Status Reports (Dkt. Nos. 14 and 16). On April 13, 2016, the Court
issued an Order directing the parties to file a Stipulation and Proposed Order Dismissing
the action on or before May 9, 2016 (Dkt. No. 17).

      The Order specifically warned Plaintiff that the Court could dismiss this action if
good cause was not shown for any extension of time and no dismissal was filed.

      To date, however, no dismissal has been filed with this Court. Accordingly, the
Court hereby dismisses the action without prejudice for failure to respond to the Court’s
Order.

          IT IS SO ORDERED.                                 Initials of Preparer                 rf




                                                                                                                     
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